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                                             June 19, 2025

BY ECF

The Honorable Katharine H. Parker
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Thompson v. Lemon, et al., No. 23-cv-2102 ( JPO) (KHP)
               Thompson v. City of New York, et al., No. 22-cv-1458 ( JPO) (KHP) [related]

Dear Judge Parker:

       I write on behalf of Plaintiﬀ Kwaine Thompson in the above-referenced matter.
Consistent with the Court’s instructions at the June 17, 2025 conference, I’ve enclosed a
proposed order for Your Honor’s consideration, as well as a copy of a valid certiﬁcate of good
standing issued to me on June 3, 2025.

       Thank you very much. Should there be anything else, please do not hesitate to let me
know. I sincerely appreciate the Court’s time.



                                             Very truly yours,


                                             /s/ Sami Elamad
